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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KRISTINA TRAVIS, individually and on            :
behalf of all others similarly situated,        :
                                                :        CASE NO.: 5:21-cv- 05395-JLS
                vs.                             :
                                                :
STATE AUTOMOBILE MUTUAL                         :        JURY TRIAL DEMANDED
INSURANCE COMPANY, INC., d/b/a                  :
State Auto Insurance Companies;                 :
                                                :
MILBANK INSURANCE COMPANY,                      :
           and                                  :
JANE DOES 1-10                                  :

                         STIPULATION FOR EXTENSION OF TIME

        AND NOW this 16th day of May, 2022, it is hereby STIPULATED and AGREED between

counsel for Plaintiff and counsel for Defendants, State Automobile Mutual Insurance Company,

Inc. and Milbank Insurance Company as follows:

        WHEREAS Defendants have filed a Motion to Dismiss Plaintiff’s Amended Complaint

[Doc. 19];

        WHEREAS Plaintiff has filed a Response in Opposition to Defendants’ Motion to Dismiss

Plaintiff’s Amended Complaint [Doc. 21];

        WHEREAS given the complexity of the issues raised in Plaintiff’s Response in Opposition

to Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, Defendants have requested

Plaintiff permit a brief seven day extension in order to file their reply brief, and Plaintiff has agreed;

        It is STIPULATED that Defendants, State Automobile Mutual Insurance Company, Inc.

and Milbank Insurance Company, shall have an extension of time in which to file and serve a reply

brief until May 25, 2022.

                            [SIGNATURES TO FOLLOW NEXT PAGE]
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GOLOMB SPIRT                                     MARSHALL DENNEHEY WARNER
GRUNFELD, P.C.                                   COLEMAN & GOGGIN



By:   /s/ Kevin W. Fay
      Richard M. Golomb, Esquire                 By:
      Kenneth J. Grunfeld, Esquire                      Vlada Tasich, Esquire
      Kevin W. Fay, Esquire                             Attorney for Defendants,
      Counsel for Plaintiff and the Class               State Automobile Mutual Insurance
      Members                                           Company, Inc. and Milbank Insurance
                                                        Company


      GRANTED this      17th        day of             May                , 2022

      IT IS SO ORDERED

                                                       /s/ Jeffrey L. Schmehl
                                                                                     J.




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